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                              EXHIBIT FF


                To Declaration of Micah West in Support of
                    Motion for Preliminary Injunction
                     & Motion for Class Certification
5/12/2017       Case 3:17-cv-00321-WKW-SMD           Document
                                     County seeks sales tax for new jail 6-36      Filed
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County seeks sales tax for new jail
Vanessa Sorrell Burnside | Posted: Wednesday, February 10, 2016 9:20 am

WEDOWEE­­Randolph County Commission will request its legislative delegation pass legislation to allow
a referendum for the voters of Randolph County to vote on a 1/2­cent sales tax for the construction of a
county correctional facility.
Sheriff David Cofield said he is presently making the rounds to civic groups and other audiences explaining
the problem. The jail was built to house 36 prisoners but had 110 at one point last year.
No sooner is one thing repaired at the jail, something else tears up. Cofield said, "We're not being good
stewards of the public's money patching it and throwing money down a hole. But we have to keep it up."

The sheriff said RCSO has recently been contacted by the Southern Poverty Law Center, and he believes the
county would lose a lawsuit.
Commissioner Lathonia Wright agreed, saying the SPLC has a track record of winning. Whereas the county
is looking at spending $3­$5 million to construct a jail, a judge would make them build something that costs
$15 million. The county already owns the land, but the construction will take additional funding.
"It's not a want, it's a need­­in the near future," said Cofield.
(For more from the Randolph County Commission see the February 10 issue of The Randolph Leader, print
or e­edition.)




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